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Celsius SPV Investors, LP, and Celsius
New SPV Investors, LP

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                              )
In re:                                                        )     Chapter 11
                                                              )
CELSIUS NETWORK LLC, et al.,1                                 )     Case No. 22-10964 (MG)
                                                              )
                                    Debtors.                  )     (Jointly Administered)
                                                              )

         NOTICE OF FILING OF FEBRUARY 6, 2023, HEARING PRESENTATION

                 PLEASE TAKE NOTICE that Community First Partners, LLC, Celsius SPV

Investors, LP, Celsius New SPV Investors, LP, and CDP Investissements Inc. hereby file the

presentation (the “Presentation”), attached hereto as Exhibit A, that will be used at the hearing




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
    Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
    LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8 USA LLC
    (9450). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service
    address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
that will take place on Monday, February 6, 2023 at 2:00 p.m., prevailing Eastern Time,

before the Honorable Martin Glenn, Chief United States Bankruptcy Judge of the United States

Bankruptcy Court for the Southern District of New York.

                PLEASE TAKE FURTHER NOTICE that copies of the Presentation and any

pleadings filed in the above-captioned chapter 11 cases may be obtained free of charge by visiting

the website of Stretto at http://www.cases.stretto.com/celsius. You may also obtain copies of any

pleadings by visiting the Court’s website at http://www.nysb.uscourts.gov in accordance with the

procedures and fees set forth therein.

 Dated: February 5, 2023
        New York, New York

 /s/ Dennis F. Dunne                                  /s/ Joshua M. Mester
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 Celsius SPV Investors, LP, and Celsius
 New SPV Investors, LP




                                                  2
Exhibit A
Exhibit
February 6, 2023




Evidentiary Hearing:
In re Celsius Network LLC
Counsel to the Series B Preferred Holders




                                            1
LLC is the only Debtor Liable to Customers Under the Terms of Use
The plain reading of the Terms of Use and the overwhelming evidence are consistent with LLC being the only Debtor liable.




                                                                                                                            2
The Terms of Use Unambiguously Limit Liability to LLC




                                                        3
The Terms of Use Unambiguously Limit Customer Liability to LLC
Section 25 of the Terms of Use carves Affiliates out of liability, leaving only LLC liable.




            Source: Exhibit SBPH 22 (Mashinsky TOU Decl., Dkt. No. 393)                       4
The Terms of Use Distinguish Between LLC and its Affiliates
When the terms Celsius and Affiliate(s) are used in the same phrase, the context is clear that Celsius refers to only LLC.
  • Contrary to the Committee’s assertion, the Terms of Use provide that “[c]apitalized terms shall have the meanings
    assigned to them in the[] Terms [of Use], unless the context requires otherwise.”

           Section 4E (Borrow)                                           Section 9 (Setoff and Security Interest Rights)




           Section 19 (Closing a Celsius Account)




           Section 4F (CelPay)




           Source: Exhibit SBPH 22 (Mashinsky TOU Decl., Dkt. No. 393)                                                       5
Migration of Customer Liabilities from CNL to LLC
                   June 2021                                                                                    July 2021                                                                        August 2021

•   CNL informs FCA it will migrate its business                                 •      CNL signs Direction Agreement with FCA re                                             •      CNL transfers customer assets and liabilities
    from CNL to LLC                                                                     migration of customers’ contractual                                                          to LLC to complete migration
                                                                                        relationship
•   Plan to migrate publicly announced via
    “Celsius Community Update”                                                   •      Terms of Use Version 6 adopted

                                                                                 •      Customers required to agree or otherwise
                                                                                        terminate their relationship with CNL




                                                                                                                                                                              •      CNL stops providing services to customers on
                                                                                                                                                                                     August 23




               Sources: Exhibit SBPH 20 (Community Update); Exhibit SBPH 1 (Blonstein Decl., Dkt. No. 1327); Exhibit SBPH 15 (Asset Transfer Agreement, dated as of Aug. 19, 2021)                                                   6
The Evidence Supports the Plain Reading of the Terms of Use




                                                              7
The Parties Did Not Intend for All Debtors to Be Liable
The plain reading of the Terms of Use is consistent with the intent to migrate customers’ contractual relationship from CNL
to LLC and that Affiliates would continue to be carved out of liability.
The documents also support the plain reading:


                    Communications to customers                             Mining S-1


                    Direction Agreement effectuating the
                                                                            Communications to the Board
                    migration plan


                    Asset Transfer Agreement                                Post-petition filings


                    Assignments and Amendments of
                    Omnibus Wallet Agreements



                                                                                                                              8
Extrinsic Evidence: Communications to Customers
Pursuant to the migration plan agreed to by the FCA, customers were notified of the migration and required to either agree
to Terms of Use Version 6 or otherwise terminate their relationship with CNL.




           Sources: Exhibit SBPH 20 (Community Update); Exhibit SBPH 1 (Blonstein Decl., Dkt. No. 1327)                      9
Extrinsic Evidence: Direction Agreement
Pursuant to the Direction Agreement, CNL agreed with the FCA that it would migrate its contractual relationship with
customers.




           Source: Exhibit SBPH 11 (Direction Agreement, dated July 21, 2021)                                          10
Extrinsic Evidence: Assignments of Omnibus Wallet Agreements
Certain agreements with “omnibus partners” were also migrated from CNL to LLC.

 •   Those assignment agreements are “subject to” updated Terms of Use with LLC.




           Source: Exhibit SBPH 18 (Omnibus Wallet Service Assignment Agreement, dated Aug. 19, 2021)   11
Extrinsic Evidence: Transfer Agreement
CNL (Transferor) and LLC (Transferee) executed an Asset Transfer so that CNL could stop providing services to or
contracting with customers.




           Source: Exhibit SBPH 15 (Asset Transfer Agreement, dated as of Aug. 19, 2021)                           12
Extrinsic Evidence: Mining S-1
The confidential S-1 statement for Celsius Mining Inc. filed with the SEC did not disclose obligations related to customer
liabilities.
  • The Debtors do not dispute this omission. Instead, the Debtors assert that “if there was an IPO of Celsius Mining,
    Celsius could have amended the Terms of Use to remove liability from that entity as part of the IPO.” (Debtors’
    Response Brief, Dkt. No. 1962)




           Source: Exhibit SBPH 8 (Mining S-1, submitted Feb. 14, 2022)                                                      13
Extrinsic Evidence: Communications to the Board
The Debtors described the migration to the Board as an agreement where CNL would no longer be providing customer-
facing services and noted that the migration was completed in August 2021.




           Source: Exhibit SBPH 6 (Board Discussion Presentation, dated May 2022)                                   14
Extrinsic Evidence: Customers Proofs of Claims
Of the 10,210 proofs of claims filed prior to the Bar Date Order, less than 0.3% could have possibly been filed against all
Debtors.


                            Proofs of Claims Filed Against Debtors through Nov. 15, 2022, as Listed on Stretto Jan. 30, 2023

                   Debtor                                                                      # of Claims              % of Claims

                   Celsius Network LLC                                                                9707                     95.07%

                   Celsius Lending LLC                                                                 137                      1.34%

                   Celsius US Holding LLC                                                              114                      1.12%

                   Celsius Network Inc.                                                                107                      1.05%

                   Celsius Network Limited                                                              73                      0.71%

                   Celsius KeyFi LLC                                                                    20                      0.20%

                   Celsius Networks Lending LLC                                                         23                      0.23%

                   Celsius Mining LLC                                                                   18                      0.18%

                   All Debtors                                                                           11                      0.11%

                   Totals                                                                            10210                     100.00%



                                                                                                                                         15
The Debtors’ and Committee’s Interpretation Is Not Plausible




                                                               16
The Debtors’ and Committee’s Interpretation Is Not Plausible
The Debtors and Committee argue that all Debtors are liable because Celsius should be interpreted to include all entities in
the Debtors’ corporate structure.
This interpretation:


                                                                                                      Is completely different than the
                              Violates principles of contract
                                                                                                      historical relationship between
                              interpretation
                                                                                                      Affiliates and customers



                                                                                                      Is not supported by any document,
                              Undermines the parties’ clear intent                                    witness, declaration, or other form of
                                                                                                      evidence




            Sources: Debtors’ Opening Brief, Dkt. No. 1799; Committee’s Opening Brief, Dkt. No 1797                                            17
The Debtors’ and Committee’s Interpretation Is Not Plausible (Cont’d)
The Debtors’ and Committee’s interpretation cannot be harmonized with the provisions that distinguish between Celsius
and its Affiliate(s), including the Limitation of Liability provision.


           Section 4E (Borrow)                                           Section 9 (Setoff and Security Interest Rights)




           Section 19 (Closing a Celsius Account)




           Section 4F (CelPay)




           Source: Exhibit SBPH 22 (Mashinsky TOU Decl., Dkt. No. 393)                                                     18
The Debtors’ and Committee’s Interpretation Is Not Plausible (Cont’d)
The Debtors also argue that the Limitation of Liability provision only carves out Affiliates that are outside the corporate
structure.
  • This would require adding in words to the Limitation of Liability provision:




                                                            Debtors’ Interpretation of Limitation
                                                                   of Liability Provision

                                                 “. . . in no event shall you have any recourse . . . to or against
                                                 any person or entity other than Celsius, including, without
                                                 limitation, . . . any Affiliate [that is outside the Company’s
                                                 corporate structure] . . . of Celsius.”




            Source: Debtors’ Opening Brief, Dkt. No. 1799                                                                     19
The Debtors’ and Committee’s Interpretation Is Not Plausible (Cont’d)
Even the Debtors’ own hypothetical Affiliate of LLC’s Affiliates that is
outside the Company’s corporate structure does not work.



                                                                      Affiliates of LLC’s Affiliates that are
                                                                        outside the corporate structure

                           Celsius Network,                                                                                                                    Celsius Network,
                              Inc. (Del.)                                                                                                                         Inc. (Del.)
                                                                             Affiliates of LLC
           Celsius Networks
                                             CNL (UK)
           Lending LLC (Del.)
                                                                                                                                                  Celsius Networks
                                                                                                                                                                                  CNL (UK)
                           Celsius Network                                                                                                       Lending LLC (Del.)
      Celsius EU UAB        IL Ltd. (Israel)        Celsius US
        (Lithuania)                              Holding LLC (Del.)

      Celsius Network                                                                    Celsius EU UAB          Celsius Network IL                                               Celsius US Holding    Celsius Services CY     Celsius (AUS) Pty        Celsius Network
                                                   Celsius Lending
          IL Ltd. –                                                                        (Lithuania)              Ltd. (Israel)                                                     LLC (Del.)           Ltd. (Cyprus)         Ltd. (Australia)       Limited (Gibraltar)
                                                      LLC (Del.)
      Bulgaria Branch
                                 LLC
                                                   Celsius Services
     GK8 Ltd (Israel)
                                                   CY Ltd. (Cyprus)                                  Celsius Network IL                                                           Celsius Lending LLC   Celsius Mining LLC
                                                                                                                              GK8 Ltd (Israel)              LLC (Del.)
                                                                                                      Ltd. – Bulgaria                                                                    (Del.)                (Del.)
        GK8 USA LLC                               Celsius Mining                                           Branch                                                                                                                         Debtors Hypothetical “Affiliate”
           (Del.)          Celsius Network          LLC (Del.)
                          Limited (Gibraltar)                                                                                                                                                                                           (i.e., entity owned or controlled by
                                                                                                                                                                                                                                        Mining LLC through a joint venture
                                                                                                                                                                                                            Celsius Mining IL                or contractual agreement)
           GK8 UK Limited                Celsius (AUS) Pty                                                                      GK8 USA LLC (Del.)
                                                                                                                                                                                                              Ltd. (Israel)
                (UK)                      Ltd. (Australia)

                            Celsius Mining
                            IL Ltd. (Israel)
                                                                                                                                  GK8 UK Limited
                                                                                                                                      (UK)




                 Sources: Debtors’ Opening Brief, Dkt. No. 1799; Exhibit SBPH 22 (Mashinsky TOU Decl., Dkt. No. 393)                                                                                                                                                   20
The Debtors’ and Committee’s Interpretation Is Not Plausible (Cont’d)
The Debtors and Committee assert that the
specific provision that controls is section 13.
That assertion is both factually and legally correct:
  • Section 13 provides that
      ‒ Customers have no rights to assets in the
        Earn or Borrow program, and
      ‒ In bankruptcy, customers may not have
        any remedies or rights other than rights
        they may or may not have as a creditor.
  • That section does not purport to (and does not)
    create any liability.
The only section that directly addresses liability is
the Limitation of Liability provision.




            Sources: Debtors’ Opening Brief, Dkt. No. 1799; Committee’s Response Brief, Dkt. No 1965; Exhibit SBPH 22 (Mashinsky TOU Decl., Dkt. No. 393)   21
The Evidence Does Not Support the Debtors’ and Committee’s Interpretation
The lack of evidence relied on by the Debtors and Committee is telling.


             They point to a total of three pieces of evidence:


                   ‒ Annual Report and Financial Statements for the period ended December 31, 2020
                   ‒ Certain drafting history (i.e., the change in the definition of Celsius from version 5 to 6)
                   ‒ Social media statements


None of the purported evidence has any bearing on customer liability.


             In fact, neither the Debtors nor the Committee even argue that in the event of
             ambiguity, they have extrinsic evidence sufficient to support their interpretation.




           Sources: Debtors’ Opening and Response Briefs, Dkt. Nos. 1799, 1962; Committee’s Opening and Response Briefs, Dkt. Nos 1797, 1965   22
